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        Exhibit H
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                                                                                 INVOICE
                                                                                 Invoice # 4128
                                                                              Date: 13/02/2020
                                                                            Due On: 14/03/2020
KSG Attorneys at Law
North Church Street
George Town, Grand Cayman P.O. Box 2255 KY1-1107
Cayman Islands

Attention: Robert Seiden, in his
capacity as the Court
Appointed Receiver for Link
Motion Inc.
469 Seventh Avenue, 5th Floor
New York, NY 10018

01264-Link Motion Inc./19

Link Motion, Inc.

 Services

  Type        Date                        Notes               Quantity     Rate        Total

 Service   01/12/2019                                             1.00   $3,000.00   $3,000.00

                                                            Services Subtotal        $3,000.00



 Expenses

  Type         Date                       Notes               Quantity     Rate        Total

 Expense    09/01/2020                                            1.00      $60.98     $60.98

 Expense    13/01/2020                                            1.00   $6,097.56   $6,097.56


                                                           Expenses Subtotal         $6,158.54


                                                                    Subtotal         $9,158.54

                                                                         Total       $9,158.54




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                                                                                Invoice # 4128 - 13/02/2020




Detailed Statement of Account

 Current Invoice

     Invoice Number              Due On       Amount Due          Payments Received         Balance Due

 4128                          14/03/2020           $9,158.54                      $0.00        $9,158.54

                                                                    Outstanding Balance         $9,158.54

                                                                Total Amount Outstanding        $9,158.54




This invoice is in United States Dollars.

Please make all amounts payable to: KSG Attorneys at Law

Please pay within 30 days.




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                                                                                         Invoice # 4128 - 13/02/2020




Remittance Advice

Wire Transfer Information

 Bank Name/Address:       Bank of Butterfield

     Name/Account #:      KSG Attorneys

                          USD: 8401645760038

Please include the invoice number 4128 as an additional reference so we may accurately identify and apply your
payment.

Please provide adequate payment to cover the wire fees assessed by your financial institution.




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                                                                                             INVOICE
                                                                                             Invoice # 4764
                                                                                          Date: 01/06/2020
                                                                                        Due On: 01/07/2020
KSG Attorneys at Law
North Church Street
George Town, Grand Cayman P.O. Box 2255 KY1-1107
Cayman Islands

Attention: Robert Seiden, in his
capacity as the Court
Appointed Receiver for Link
Motion Inc.
469 Seventh Avenue, 5th Floor
New York, NY 10018
01534-Link Motion Inc./20

LKM Hong Kong Arbitration

  Type         Date                              Notes                    Quantity      Rate       Total

Service     20/05/2020                                                        2.70     $600.00   $1,620.00



Service     21/05/2020                                                        9.20     $600.00   $5,520.00




Service     22/05/2020    Develop and draft argument/analysis                 4.10     $600.00   $2,460.00


                                                                               Subtotal          $9,600.00

                                                                                     Total       $9,600.00




Detailed Statement of Account

 Current Invoice

    Invoice Number                 Due On       Amount Due        Payments Received           Balance Due

4764                           01/07/2020             $9,600.00                      $0.00       $9,600.00

                                                                    Outstanding Balance          $9,600.00




                                                   Page 1 of 3
       Case 1:18-cv-11642-VM-VF Document 376-8 Filed 11/18/22 Page 6 of 31
                                                                               Invoice # 4764 - 01/06/2020




                                                               Total Amount Outstanding        $9,600.00




This invoice is in United States Dollars.

Please make all amounts payable to: KSG Attorneys at Law

Please pay within 30 days.




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      Case 1:18-cv-11642-VM-VF Document 376-8 Filed 11/18/22 Page 7 of 31
                                                                                         Invoice # 4764 - 01/06/2020




Remittance Advice

Wire Transfer Information

 Bank Name/Address:

     Name/Account #:




Please provide adequate payment to cover the wire fees assessed by your financial institution.




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                                                                                 INVOICE
                                                                                  Invoice # 4803
                                                                               Date: 11/06/2020
                                                                             Due On: 11/07/2020
KSG Attorneys at Law
North Church Street
George Town, Grand Cayman P.O. Box 2255 KY1-1107
Cayman Islands
Attention: Robert Seiden, in his
capacity as the Court
Appointed Receiver for Link
Motion Inc.
469 Seventh Avenue, 5th Floor
New York, NY 10018

01550-Link Motion Inc./20

LKM Promissory Note Conversion

 Services

  Type        Date                        Notes               Quantity       Rate        Total

 Service   11/06/2020                                             1.00     $5,000.00   $5,000.00




                                                            Services Subtotal          $5,000.00



 Expenses

   Type         Date                       Notes               Quantity       Rate       Total

 Expense    11/06/2020                                              1.00     $914.63    $914.63

                                                           Expenses Subtotal            $914.63


                                                                    Subtotal           $5,914.63

                                                                         Total         $5,914.63




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                                                                                Invoice # 4803 - 11/06/2020




Detailed Statement of Account

 Current Invoice

     Invoice Number              Due On       Amount Due          Payments Received         Balance Due

 4803                          11/07/2020           $5,914.63                      $0.00        $5,914.63

                                                                    Outstanding Balance         $5,914.63

                                                                Total Amount Outstanding        $5,914.63




This invoice is in United States Dollars.

Please make all amounts payable to: KSG Attorneys at Law

Please pay within 30 days.




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                                                     Invoice # 4803 - 11/06/2020




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                                                                                         Invoice # 4803 - 11/06/2020




Remittance Advice

Wire Transfer Information

 Bank Name/Address:

     Name/Account #:




Please provide adequate payment to cover the wire fees assessed by your financial institution.




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      Case 1:18-cv-11642-VM-VF Document 376-8 Filed 11/18/22 Page 12 of 31




                                                                               INVOICE
                                                                                Invoice # 5241
                                                                             Date: 02/09/2020
                                                                           Due On: 02/10/2020
KSG Attorneys at Law
North Church Street
George Town, Grand Cayman P.O. Box 2255 KY1-1107
Cayman Islands
Attention: Robert Seiden, in his
capacity as the Court
Appointed Receiver for Link
Motion Inc.
469 Seventh Avenue, 5th Floor
New York, NY 10018

01649-Link Motion Inc./20

Link Motion Inc. - General Advice

 Services

  Type         Date                        Notes              Quantity     Rate       Total

 Service    11/08/2020                                            0.70    $600.00    $420.00

 Service    17/08/2020                                            2.10    $600.00   $1,260.00




 Service    21/08/2020                                            1.70    $600.00   $1,020.00


 Service    25/08/2020                                            0.20    $600.00    $120.00




 Service    28/08/2020                                            0.20    $600.00    $120.00


                                                           Services Subtotal        $2,940.00



 Expenses

   Type         Date                       Notes              Quantity     Rate       Total

 Expense    25/08/2020                                             1.00    $33.78     $33.78




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      Case 1:18-cv-11642-VM-VF Document 376-8 Filed 11/18/22 Page 13 of 31
                                                                                  Invoice # 5241 - 02/09/2020




                                                                        Expenses Subtotal            $33.78


                                                                                  Subtotal        $2,973.78

                                                                                     Total        $2,973.78




Detailed Statement of Account

 Current Invoice

     Invoice Number              Due On        Amount Due           Payments Received         Balance Due

 5241                          02/10/2020             $2,973.78                      $0.00        $2,973.78

                                                                      Outstanding Balance         $2,973.78

                                                                  Total Amount Outstanding        $2,973.78




                                            Account                                             Balance

 USD Savings Balance                                                                                  $0.00

                                                                     Total Account Balance            $0.00




This invoice is in United States Dollars.

Please make all amounts payable to:

Please pay within 30 days.




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                                                                                         Invoice # 5241 - 02/09/2020




Remittance Advice

Wire Transfer Information

 Bank Name/Address:

     Name/Account #:




Please provide adequate payment to cover the wire fees assessed by your financial institution.




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                                                                            INVOICE
                                                                                Invoice # 5386
                                                                             Date: 01/10/2020
                                                                           Due On: 31/10/2020
KSG Attorneys at Law
North Church Street
George Town, Grand Cayman P.O. Box 2255 KY1-1107
Cayman Islands
Attention: Robert Seiden, in his
capacity as the Court
Appointed Receiver for Link
Motion Inc.
469 Seventh Avenue, 5th Floor
New York, NY 10018

01649-Link Motion Inc./20

Link Motion Inc. - General Advice

 Services

  Type         Date                        Notes               Quantity    Rate       Total

 Service    03/09/2020                                             0.40   $600.00    $240.00

 Service    04/09/2020                                             2.30   $600.00   $1,380.00




 Service    07/09/2020                                             5.00   $600.00   $3,000.00


 Service    08/09/2020                                             0.90   $600.00    $540.00




 Service    08/09/2020             ie                              0.30   $600.00    $180.00


 Service    09/09/2020                                             1.90   $600.00   $1,140.00

                                                           )

 Service    10/09/2020                                             0.30   $600.00    $180.00




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                                                                  Invoice # 5386 - 01/10/2020




Service   17/09/2020                                             1.00     $600.00     $600.00




Service   18/09/2020                                             0.20     $600.00     $120.00


Service   21/09/2020                                             0.20     $600.00     $120.00


Service   22/09/2020                                             0.40     $600.00     $240.00




Service   24/09/2020                                             0.20     $600.00     $120.00



Service   29/09/2020                                             0.30     $600.00     $180.00




                                                          Services Subtotal          $8,040.00



Expenses

 Type        Date                   Notes                     Quantity      Rate       Total

Expense   17/09/2020                                              1.00      $36.86     $36.86

                                                         Expenses Subtotal             $36.86


                                                                  Subtotal           $8,076.86

                                                                        Total        $8,076.86




Detailed Statement of Account

Other Invoices

   Invoice Number       Due On      Amount Due       Payments Received          Balance Due

5241                   02/10/2020        $2,973.78                      $0.00        $2,973.78




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      Case 1:18-cv-11642-VM-VF Document 376-8 Filed 11/18/22 Page 17 of 31
                                                                                  Invoice # 5386 - 01/10/2020




 Current Invoice

     Invoice Number              Due On        Amount Due           Payments Received         Balance Due

 5386                          31/10/2020             $8,076.86                      $0.00        $8,076.86

                                                                      Outstanding Balance        $11,050.64

                                                                  Total Amount Outstanding       $11,050.64




                                            Account                                             Balance

 USD Savings Balance                                                                                  $0.00

                                                                     Total Account Balance            $0.00




This invoice is in United States Dollars.

Please make all amounts payable to: KSG Attorneys at Law

Please pay within 30 days.




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                                                                                         Invoice # 5386 - 01/10/2020




Remittance Advice

Wire Transfer Information

 Bank Name/Address:

     Name/Account #:




Please provide adequate payment to cover the wire fees assessed by your financial institution.




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                                                                                                 INVOICE
                                                                                                   Invoice # 7721
                                                                                                Date: 14/10/2021
                                                                                              Due On: 13/11/2021
KSG Attorneys at Law
North Church Street
George Town, Grand Cayman P.O. Box 2255 KY1-1107
Cayman Islands

Attention: Robert Seiden, in his
capacity as the Court
Appointed Receiver for Link
Motion Inc.
469 Seventh Avenue, 5th Floor
New York, NY 10018

02335-Link Motion Inc./21

LKM Promissory Note Conversion 2021

 Services

  Type          Date                              Notes                        Quantity       Rate        Total

 Service     08/09/2021                                                            1.00     $4,100.00   $4,100.00




                                                                             Quantity Subtotal                  1.0

                                                                             Services Subtotal          $4,100.00



 Expenses

   Type          Date                              Notes                        Quantity       Rate       Total

 Expense      13/09/2021                                                             1.00     $750.00     $750.00

                                                                            Expenses Subtotal             $750.00



           Time Keeper                 Position            Quantity              Rate                   Total

 Mark Russell                      Attorney                           1.0           $4,100.00           $4,100.00

                                                                                Quantity Total                  1.0

                                                                                     Subtotal           $4,850.00




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      Case 1:18-cv-11642-VM-VF Document 376-8 Filed 11/18/22 Page 20 of 31
                                                                                            Invoice # 7721 - 14/10/2021




                                                                                               Total        $4,850.00




Detailed Statement of Account

 Current Invoice

    Invoice Number              Due On            Amount Due             Payments Received              Balance Due

 7721                         13/11/2021                $4,850.00                              $0.00        $4,850.00

                                                                            Outstanding Balance             $4,850.00

                                                                       Total Amount Outstanding             $4,850.00




All invoices are in Cayman Islands Dollars. If paying in USD the conversion rate is 0.82.
Please make all amounts payable to: KSG Attorneys at Law

Please pay within 30 days.




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      Case 1:18-cv-11642-VM-VF Document 376-8 Filed 11/18/22 Page 21 of 31
                                                                                         Invoice # 7721 - 14/10/2021




Remittance Advice

Wire Transfer Information

 Bank Name/Address:




     Name/Account #:




Please provide adequate payment to cover the wire fees assessed by your financial institution.




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                                                                              INVOICE
                                                                              Invoice # 5633
                                                                           Date: 09/11/2020
                                                                         Due On: 09/12/2020
KSG Attorneys at Law
North Church Street
George Town, Grand Cayman P.O. Box 2255 KY1-1107
Cayman Islands

Attention: Robert Seiden, in his
capacity as the Court
Appointed Receiver for Link
Motion Inc.
469 Seventh Avenue, 5th Floor
New York, NY 10018
01649-Link Motion Inc./20

Link Motion Inc. - General Advice

   Type        Date                        Notes           Quantity      Rate       Total

 Service    06/10/2020                                         0.30     $600.00    $180.00



 Service    07/10/2020                                         0.30     $600.00    $180.00


 Service    08/10/2020                                         2.00     $600.00   $1,200.00




 Service    09/10/2020                                         0.60     $600.00    $360.00




                                                                Subtotal          $1,920.00

                                                                      Total       $1,920.00




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      Case 1:18-cv-11642-VM-VF Document 376-8 Filed 11/18/22 Page 23 of 31
                                                                                  Invoice # 5633 - 09/11/2020




Detailed Statement of Account

 Other Invoices

     Invoice Number              Due On        Amount Due           Payments Received         Balance Due

 5241                          02/10/2020             $2,973.78                      $0.00        $2,973.78

 5386                          31/10/2020             $8,076.86                      $0.00        $8,076.86


 Interest On Other Invoices

     Original Invoice            Due On        Amount Due           Payments Received         Balance Due

 5241                          02/11/2020               $14.67                       $0.00           $14.67

 5386                          01/12/2020               $39.83                       $0.00           $39.83

 5241                          02/12/2020               $14.67                       $0.00           $14.67


 Current Invoice

     Invoice Number              Due On        Amount Due           Payments Received         Balance Due

 5633                          09/12/2020             $1,920.00                      $0.00        $1,920.00

                                                                      Outstanding Balance        $13,039.81

                                                                  Total Amount Outstanding       $13,039.81




                                            Account                                             Balance

 USD Savings Balance                                                                                  $0.00

                                                                     Total Account Balance            $0.00




This invoice is in United States Dollars.

Please make all amounts payable to: KSG Attorneys at Law

Please pay within 30 days.




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                                                                                         Invoice # 5633 - 09/11/2020




Remittance Advice

Wire Transfer Information

 Bank Name/Address:

     Name/Account #:




        .

Please provide adequate payment to cover the wire fees assessed by your financial institution.




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                                                                                     INVOICE
                                                                                      Invoice # 5838
                                                                                   Date: 07/12/2020
                                                                                 Due On: 06/01/2021
KSG Attorneys at Law
North Church Street
George Town, Grand Cayman P.O. Box 2255 KY1-1107
Cayman Islands
Attention: Robert Seiden, in his
capacity as the Court
Appointed Receiver for Link
Motion Inc.
469 Seventh Avenue, 5th Floor
New York, NY 10018

01649-Link Motion Inc./20

Link Motion Inc. - General Advice

  Type          Date                        Notes                     Quantity   Rate        Total

Service     11/11/2020                                                    0.90   $600.00    $540.00



Service     12/11/2020                                                    0.50   $600.00    $300.00



                                                                          Subtotal          $840.00

                                                                             Total          $840.00




Detailed Statement of Account

 Other Invoices

    Invoice Number                 Due On   Amount Due       Payments Received        Balance Due

5241                           02/10/2020        $2,973.78                   $0.00         $2,973.78

5386                           31/10/2020        $8,076.86                   $0.00         $8,076.86

5633                           09/12/2020        $1,920.00                   $0.00         $1,920.00




                                              Page 1 of 3
      Case 1:18-cv-11642-VM-VF Document 376-8 Filed 11/18/22 Page 26 of 31
                                                                                Invoice # 5838 - 07/12/2020




 Interest On Other Invoices

     Original Invoice            Due On        Amount Due         Payments Received         Balance Due

 5241                          02/11/2020              $14.67                      $0.00           $14.67

 5386                          01/12/2020              $39.83                      $0.00           $39.83

 5241                          02/12/2020              $14.67                      $0.00           $14.67

 5386                          31/12/2020              $39.83                      $0.00           $39.83

 5241                          01/01/2021              $14.67                      $0.00           $14.67


 Current Invoice

     Invoice Number              Due On        Amount Due         Payments Received         Balance Due

 5838                          06/01/2021             $840.00                      $0.00          $840.00

                                                                    Outstanding Balance        $13,934.31

                                                                Total Amount Outstanding       $13,934.31




                                            Account                                           Balance

 USD Savings Balance                                                                                $0.00

                                                                   Total Account Balance            $0.00




This invoice is in United States Dollars.

Please make all amounts payable to: KSG Attorneys at Law

Please pay within 30 days.




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                                                                                         Invoice # 5838 - 07/12/2020




Remittance Advice

Wire Transfer Information

 Bank Name/Address:

     Name/Account #:




Please provide adequate payment to cover the wire fees assessed by your financial institution.




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Steven Seiden
Seiden Law Group LLP
L469 Seventh Avenue, 5th Fl.
New York, NY 10018
United States of America
24 November 2021


Dear Sir/Madam

Link Motion Inc. (the "Client")
2022 Annual Fees for Cayman Entities (each entity, the "Client")
The Client is next required to pay annual fees and make annual filings in the Cayman Islands in January, 2022.
We enclose an invoice for the 2022 calendar year for the provision of registered office services and related Government fees.
Where appropriate, we have also included any unbilled fees and disbursements previously incurred by the Client.
The enclosed invoice (and any earlier invoices which remain outstanding) must be settled by 31 December 2021 to enable
us to pay Government fees on the Client's behalf by the due date.
The Government imposes penalties for late payment of Government fees and annual filings, and may ultimately strike
defaulters formed in the Cayman Islands from its register whereupon any remaining assets of such defaulters may vest with
the Government and any unauthorised dealing will be illegal. In addition, following the introduction of the Monetary Authority
(Administrative Fines) Regulations (the "Administrative Fines Regime"), if the Client is a fund that is registered with the
Cayman Islands Monetary Authority ("CIMA"), it may be subject to an additional administrative fine by CIMA of more than
US$6,000 for late payment of its annual CIMA registration fee.
Please note that it is our policy not to advance Government or CIMA fees on behalf of the Client.
Payment is Urgent and Important
We look forward to receiving payment by 31 December 2021. To assist us in applying funds sent by wire transfer, please
send an email to accountshelp@maples.com confirming (a) the date that the funds were sent; (b) the amount transferred; (c)
the invoice number(s); and (d) the name of the Client. The funds received may be applied in settlement of outstanding
invoices in date order. We will then effect the required annual Government filings on behalf of the Client unless instructed not
to do so.
Regulatory and other important information
We attach a schedule detailing important information about matters that the Client should review including (i) the
Administrative Fines Regime; (ii) Ownership, Registers and Records of the Client; (iii) the Economic Substance Regime; (iv)
New Registry Information and Inspection; (v) FATCA and CRS; (vi) AML Obligations; and (vii) the Fund Annual Return. If any
actions are required following such review, please contact any of the Client's usual Maples Group contacts.
Terms and Conditions
Each member of the Maples Group provides their services to clients under the applicable standard terms, which are available
at www.maples.com/terms. These may be amended from time to time. A copy of the current schedule of fees for Maples
Corporate Services Limited ("MCSL") and/or MaplesFS Limited ("MaplesFS") is also available on the Maples e-Services site
(www.mapleseservices.com). For an explanation of why and how we handle personal data, please visit
www.maples.com/privacy.
The continued use of these services constitutes acceptance of our current terms and confirmation that the information on the
Client's owners (including beneficial owners), voting shareholders, directors, officers, managers, voting members, trustee(s),
general partners and/or limited partners that have previously been provided to us by the Client remain current.
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                                                                                Invoice No.                        3196670
                                                                                       Date                       24-Nov-21


                                                                                       Page                                  2




Yours faithfully




Maples and Calder
For itself and on behalf of
Maples Corporate Services Limited and MaplesFS Limited




                                                          Schedule 1
Administrative Fines Regime
The Client should note that if it is regulated by CIMA that CIMA now has the ability to levy administrative fines for a breach of
any applicable regulatory measure. As noted above, by way of example, where the Client is a fund registered with CIMA then
administrative fines can apply for the late payment of fees due to CIMA. For further advice on the relevant regulatory
compliance obligations applicable to the Client please contact any of the Client's usual Maples Group contacts.
Ownership, Registers and Records of the Client
In our capacity as registered office provider, we have an obligation to obtain documents to identify and, where necessary,
verify the identity of the Client's owners, operators, controllers and ultimate beneficial owners. Separately, the Client must
maintain certain statutory registers with MCSL as its registered office.
Unless we hear otherwise from the Client by 31 December 2021, we will assume that the owners (including beneficial
owners), voting shareholders, directors, officers, managers, voting members, trustee(s), general partners and/or limited
partners of the Client remain as previously notified to us. As a reminder, the Client must inform us of any changes in order to
continue to comply with applicable regulatory obligations.
Cayman Islands Economic Substance Regime ("ESR")
Information about the Cayman Islands ESR is available from the Client's usual contact. The Government recently released
updated Guidance Notes (v. 3.1) on the ESR (the "Guidance Notes"), which will be relevant to certain clients. The ESR
requires certain entities to make an annual notification to the Cayman Islands Department for International Tax Cooperation
("DITC") confirming whether such entity is carrying on a "relevant activity" or relying on an exemption from being a "relevant
entity" under the ESR. If an ESR notification was made in the 2021 calendar year, the Client may be required to file (i) an
ESR report with the DITC within the prescribed period where the Client indicated on such notification that it was a "relevant
entity" carrying on a "relevant activity"; or (ii) separate information with DITC where the Client indicated that it was not a
"relevant entity" due to being "tax resident outside the Islands".
As notification is an annual requirement, an ESR notification may be required to be filed with the DITC at the beginning of the
2022 calendar year to confirm whether the Client is conducting a "relevant activity" or is relying on an exemption from being
a "relevant entity" under the ESR. Given that the Client's business and activities may have changed, we would encourage
the Client to discuss with its usual Maples Group contact whether any existing ESR notification needs to be updated. Where
MCSL or MaplesFS is making a repeat ESR notification, if not instructed differently by or on behalf of the Client by 31
December 2021, MCSL or MaplesFS will assume that the details filed with DITC for the ESR notification in the 2021 calendar
year remain unchanged. Please note that it is a statutory offence knowingly or wilfully to supply false or misleading




                                                                                            Maples and Calder (Cayman) LLP
                                                                           PO Box 309 Ugland House KY1-1104 Cayman Islands
                                                                  Tel: +1 345-949-8066 Fax: +1 345-949-8080 www.maples.com
       Case 1:18-cv-11642-VM-VF Document 376-8 Filed 11/18/22 Page 30 of 31
                                                                                 Invoice No.                        3196670
                                                                                        Date                       24-Nov-21
                                                                                   Client No.                         661944
                                                                                     Contact                      Derrick Kan
                                                                                        Page                                3




information to the DITC under the ESR.
New Registry Information and Inspection
The Cayman Islands Registrar now requires that certain additional information is provided on the Client, including the "nature
of business" of the Client and its financial year end date. The "nature of business" is also required to be included in the annual
filing for the Client. Unless instructed otherwise by 31 December 2021, we will designate a "nature of business" in the Client's
annual filing that is consistent with information provided to us as to the Client's business and we will assume that this has not
changed. The "nature of business" along with other prescribed information in relation to companies, limited liability
companies and exempted limited partnerships shall be available at the Cayman Islands Registrar for inspection by any
person subject to certain conditions.
FATCA and CRS
We assume that, where the Client has not separately instructed us to do so, the Client has conducted its own analysis to
determine whether or not it has any obligations under the Cayman Islands regulations which implement the US Foreign
Account Tax Compliance Act ("FATCA") and the OECD Common Reporting Standard ("CRS") (collectively, "AEOI").
A copy of our AEOI overview containing information relating to entity registration, classification and due diligence obligations,
the requirement for CRS written policies and procedures, the CRS annual declaration, the CRS Compliance Form and
penalties for non-compliance can be accessed from the following link:
www.maples.com/Services/Regulatory-and-Compliance/AEOI---FATCA-and-CRS. Our affiliate, MaplesFS, can provide
assistance with these procedures and the related functions, if required.
It is important that the Client confirms whether it is subject to the AEOI regime, as the DITC has the ability to impose
significant fines for non-compliance.
AML Obligations
We also remind the Client that the scope of the Cayman Islands' anti-money laundering and combating of terrorist and
proliferation financing regime (collectively, "AML") is not limited to CIMA-regulated entities, but extends to (amongst other
activities) entities in the business of "otherwise investing, administering or managing funds or money on behalf of other
persons". This means that certain entities not licensed by, or registered with, CIMA may be subject to the Anti-Money
Laundering Regulations (2020 Revision) (the "AML Regulations") and will be required to maintain AML procedures,
including the designation of an AML Compliance Officer, Money Laundering Reporting Officer and Deputy. Our affiliate,
MaplesFS, can provide assistance with these procedures and functions, if required.
It is important that the Client determines whether it is subject to the AML Regulations, as CIMA has the ability to impose
significant fines for non-compliance.
Fund Annual Return
If the Client is a fund regulated by CIMA, a Fund Annual Return ("FAR") filing fee will be payable upon filing of the fund's
audited accounts. We have not included the FAR filing fee as a disbursement as it is more common for this filing fee to be
paid to CIMA directly by the fund or by other service providers to the fund. However, if the Client would like us to pay the FAR
filing fee on its behalf, please contact us and we will issue the Client with a separate invoice for the fee. Our affiliate,
MaplesFS, can also provide assistance with both the preparation and filing of the FAR and payment of the FAR filing fee, if
required.
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Link Motion Inc.
                                                          Invoice No.                  3196670
                                                                 Date                24-Nov-21
                                                            Client No.           661944.000000

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                                                  INVOICE
Corporate Services Fees
                                                                                      1,600.00

                                                                                        100.00
                                                                                        150.00
Total Fees                                                                            1,850.00

Disbursements
21-Nov-21 - 2022 Annual Return for Exempt Company (share capital 42001-820000)        1,219.51
Total Disbursements                                                                   1,219.51

Total Fees and Disbursements                                                          3,069.51

TOTAL BALANCE DUE                                                                  US$3,069.51
